                              UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                              CASE NO: 3:21-CV-00191-MOC-DCK

  DANIEL RUFTY LEGAL, PLLC,
  d/b/a Carolina Legal Services,

                  Plaintiff,
                                                                   NOTICE
          v.

  JASON BLUST, LAW OFFICE OF JASON
  BLUST, LLC, LIT DEF STRATEGIES, LLC,
  and RELIALIT, LLC,

                  Defendants.

       The parties notify the Court that this matter has been resolved. The parties expect that

a formal stipulation of dismissal of all claims with prejudice will be filed no later than

September 17, 2021.

       This the 9th day of September 2021.

 /s/ Matthew M. Villmer                             /s/ Sarah Motley Stone
 Bo Caudill (N.C. Bar No. 45104)                    Claire J. Rauscher (N.C. Bar No. 21500)
 Matthew M. Villmer (N.C. Bar No. 48239)            Sarah Motley Stone (N.C. Bar No. 34117)
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